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                            EXHIBIT 5

      Summary of Pending Document Requests in German Action
Hranov vs. Deutsche Bank AG and Simon Biner: Document production requests in the German litigation

 Reference source                     Documents concerned / requested
 Writ of 31 October 2016, p. 84       Extract from Deutsche Bank AG’s trading books (Handelsbücher) showing its purchases and sales of shares in
                                      OC Oerlikon AG in the period from 1 February 2008 to 29 February 2008 (submission as evidence).

 Writ of 31 August 2017 on Deutsche   Making accessible or providing playback of the original recordings of all telephone conversations between Rumen
 Bank AG’s statement of defence,      Hranov and Simon Biner (application pursuant to section 421 German Code on Civil Procedure).
 p. 20 et seq.

 Writ of 31 August 2017 on Deutsche   Submission (Vorlage) of transcripts of all telephone conversations between Rumen Hranov and Simon Biner in
 Bank AG’s statement of defence,      the period from 1 November 2006 to 30 January 2008 (application pursuant to section 421 German Code on Civil
 p. 21                                Procedure).

 Writ of 31 August 2017 on Deutsche   Submission (Vorlage) of an extract from Deutsche Bank AG’s trading book (Handelsbuch) relating to its
 Bank AG’s statement of defence,      purchases and sales of shares in OC Oerlikon AG and of warrants on shares in OC Oerlikon AG in the period
 p. 46                                from 1 December 2007 to 15 August 2008 (application pursuant to section 421 German Code on Civil Procedure).
 Writ of 23 April 2018, p. 24

 Writ of 23 April 2018, p. 31         Suggestion of court orders pursuant to section 142 German Code on Civil Procedure:
                                            Submission (Vorlage) of transcripts of the telephone conversations between Rumen Hranov and Simon
                                             Biner listed in Annex K 57 – an overview prepared by claimant that allegedly lists all telephone
                                             connections between Hranov and Biner in the years 2006 to 2008.
                                            Submission (Vorlage) or transmission (Übermittlung) of the audio files or tape recordings of the telephone
                                             conversations between Rumen Hranov and Simon Biner listed in Annex K 57 which are allegedly in the
                                             possession of Deutsche Bank AG.

 Writ of 30 June 2021, p. 26          Inspection (Inaugenscheinnahme) of the data for the custodian "Simon Biner" for the period from 1 September
                                      2006 to 1 February 2009 on the backup tape of Deutsche Bank AG’s IBM Lotus Server, on Deutsche Bank AG’s
                                      AXSOne email archive and on Deutsche Bank AG’s IBM Lotus Server itself (application pursuant to section 371,
                                      423 German Code on Civil Procedure).
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